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MANDATE
                                                      18923


                                                                                                         E.D.N.Y. – Bklyn.
                                                                                                               22-cv-6300
                                                                                                                09-cr-466
                                                                                                                 Cogan, J.

                                  United States Court of Appeals
                                                           FOR THE
                                                   SECOND CIRCUIT


                  At a stated term of the United States Court of Appeals for the Second
     Circuit, held at the Thurgood Marshall United States Courthouse, 40 Foley Square,
     in the City of New York, on the 5th day of November, two thousand twenty-four.

     Present:
                       Robert D. Sack,
                       Myrna Pérez,
                             Circuit Judges,
                       Dale E. Ho,
                             District Judge. *


     Joaquin Archivaldo Guzman-Loera,

                                         Petitioner,

                       v.                                                                      24-2160

     United States of America,

                                         Respondent.


     Petitioner moves for leave to file a successive 28 U.S.C. § 2255 motion. Upon due consideration,
     it is hereby ORDERED that the motion is DENIED.

     To the extent that Petitioner repeats claims raised in a prior § 2255 proceeding, they must be
     dismissed. See Gallagher v. United States, 711 F.3d 315, 315 (2d Cir. 2013) (per curiam) (“We
     must dismiss a claim [in a motion for leave to file a successive § 2255 motion] that was presented
     in a prior motion under § 2255.”).

     However, even if a court had not previously adjudicated his present claims, Petitioner has not made
     a prima facie showing that the requirements of § 2255(h) are satisfied. First, Petitioner has not
     shown that his claims are based on “newly discovered evidence that, if proven and viewed in light


     * Judge Dale E. Ho, of the United States District Court for the Southern District of New York, sitting by designation.




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 of the evidence as a whole, would be sufficient to establish by clear and convincing evidence that
 no reasonable factfinder would have found [him] guilty.” 28 U.S.C. § 2255(h)(1). Second,
 Petitioner has also not made the alternate showing that his claims are based on “a new rule of
 constitutional law, made retroactive to cases on collateral review by the Supreme Court, that was
 previously unavailable.” Id. § 2255(h)(2).


                                              FOR THE COURT:
                                              Catherine O’Hagan Wolfe, Clerk of Court
